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                         IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF COLUMBIA




UNITED STATES OF AMERICA                      )
                                              )
       v.                                     )       CRIMINAL NO. 21-CR-177(CRC)
                                              )
                                              )
DANIEL D. EGTVEDT                             )

             UNOPPOSED MOTION FOR WITNESS TO TESTIFY VIRTUALLY

       The Defendant, Daniel Egtvedt, by his counsel, Kira Anne West, hereby respectfully asks

the Court to allow a witness for the defense, Brother Richard Egtvedt, to testify virtually in the

upcoming motion to suppress scheduled for June 2, 2022 in the above case and in support states the

following:


       This Court will hear a motion to suppress by the defense on June 2, 2022. One of the

witnesses for the defense, Brother Richard Egtvedt, lives 3 hours from Washington, D.C. Because

of responsibilities at home with the care of his ailing mother, a trip to Washington, D.C. to testify

would cause an undue hardship on the family.


       The testimony of this witness would be no longer than 10 minutes. Unfortunately, there is no

other witness for the defense that can testify to the issues presented to the Court.


       Undersigned counsel spoke with the government and they indicated that they had no

opposition to this request.


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                                            Respectfully submitted,

                                            KIRA ANNE WEST

                                     By:             /s/
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                                 CERTIFICATE OF SERVICE

       I hereby certify on the 31st day of May, 2022 a copy of same was delivered to the parties

of record, by email pursuant to the Covid standing order and the rules of the Clerk of Court.

                                                         /S/
                                                    Kira Anne West
